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IN THE UNITED sTATEs DISTRICT COURT F"'ED B""-- °‘c'\
FOR THE wEsTERN DISTRICT oF TENNESSEE
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CURTIS L. BYRD, JR.,
Plaintiff,
vs. No. 04-2998-D/P

LESLIE I. BALLIN, et a]..,

Defendants.

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ORDER GR.ANTING DEFENDANT BALLIN’S MOTION
TO SET ASIDE DEFAULT
AND
ORDER DENYING PLAINTIFF’S MOTION FOR A
DEF'AULT JU'DGMENT AGAINST DEFENDANT BALLIN

 

Plaintiff Curtis L. Byrd, Jr. commenced this action by
filing a legal malpractice complaint in the Shelby County Circuit
Court, docket number CT-005216-04, on September 13, 2004 against
defendant Leslie I. Ballin, an attorney who represented Byrd in a
federal criminal prosecution arising out of this district. §§§ Notice
of Removal, Ex. A. On or about November 15, 2004, plaintiff filed an
amended complaint that, for the first time, added the National Bank
of Commerce (“NBC”) and three individuals, Sheila Burnett, Latoria
Johnson, and Patricia Cook, as defendants. §§§_Notice of Removal, Ex.
B. The claims against NBC arose under, inter §lig, the Right to
Financial Privacy Act, 12 U.S.C. § 3401 §§ §§g&, and Tennessee law.

NBC was served with the amended complaint on November 19, 2004 and

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removed this action to federal court, pursuant to 28 U.S.C. §
l446(d), on December 9, 2004.

On December 13, 2004, plaintiff filed a document, entitled
“Application for Default Judgement Against Leslie I. Ballin,” which
purported to seek a summary judgment against Ballin because of his
failure to appear and defend the action. On December 14, 2004, the
Clerk construed the filing as an application for entry of default
pursuant to Fed. R. Civ. P. 55(a) and, as so construed, denied the
application. On December 17, 2004, plaintiff filed an application for
entry of default pursuant to Fed. R. Civ. P. 55(a), accompanied by
a copy of the return of service on Ballin. The Clerk entered a
default against Ballin on December 20, 2004.

On December 22, 2004, defendant Ballin filed a motion,
pursuant to Fed. R. Civ. P. 55(c), to set aside the default,
accompanied by a memorandum of law. Plaintiff filed a response in
opposition to the motion on December 28, 2004. On January 18, 2005,
plaintiff filed a document, entitled “Plaintiff's Supplement and
Amendment to Response to ‘Motion to Set Aside Default.’"1

On December 22, 2004, plaintiff filed ai motion for a
default judgment, pursuant to Fed. R. Civ. P. 55(b)(2), against
defendant Ballin, accompanied by a memorandum of law. Defendant
Ballin has not responded to the motion, and the time for a response

has expired.

 

1 As the motion has been fully briefed, plaintiff should have sought

leave of Court prior to filing this additional document. In an order issued on
February 4, 2005, the parties were cautioned about the local rules concerning
reply briefs. The Court will exercise its discretion to consider the plaintiff's
additional filing in this instance.

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With. respect to the motion to set aside the default,
defendant Ballin makes two arguments: first, that entry of default
was inappropriate, and second, that he is entitled to relief pursuant
to Rule 55(0). The Court will consider those arguments in turn.

With respect to his argument that entry of default was
inappropriate, defendant Ballin sets forth the following chronology,
which is essentially undisputed by the plaintiff:2

1. &@tmmerl3,20@h Plaintiff files original

Complaint and Summons against Ballin in the Circuit

Court for the Thirtieth Judicial District at Memphis,

Shelby County (hereinafter “Circuit Court), under

Docket No. CT-005216~04, Curtis L. Byrd. Jr. v.

Leslie I. Ballin.

2. October 19 2004: After failing to obtain service
on Ballin, Plaintiff has another Summons issued for

Ballin in Circuit Court Case No. CT-005216-O4, Curtis
L. Bvrd, Jr. v. Leslie I. Ballin.

 

3. November 12 2004: Ballin receives Summons.

 

4. Novamxx 15 2004: Plaintiff files an Amended
Complaint in Circuit Court under Case No. CT*005216-
04, Curtis L. Bvrd. Jr. v. Leslie I. Ballin. National
Bank of Commerce, Sheila Burnett, Latoria Johnson &
Patricia Cook, but does not serve a copy' of the
Amended Complaint on Ballin.

 

5. December 9 2004: Co-defendant NBC files a notice
of removal in this Court, amd a “Notification of
Notice of Removal” in Circuit Court, but does not
provide copies to defendant Ballin.

 

6. December 13 2004: Plaintiff files “Motion to Remand
to State Court.”

 

7. December 13 2004: Plaintiff files “Motion for
Summary Judgment Against Leslie I. Ballin” but,
contrary to the representation in the certificate of

 

 

2 The Court has omitted those portions of the chronology that are

irrelevant to whether Ballin is, technically, in default.

3

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service, did not mail a copy to Ballin's attorney
until December 20, 2004.3

8. December 13 2004: Plaintiff files “Application for
Default Judgment” against Ballin, but does not serve
a copy on Ballin.4

 

 

3 The certificate of service attached to this motion states: “I, Curtis

L. Byrd, Jr., hereby certify that I have mailed a copy of the foregoing motion to
Richard Glassman, 28 N. 2nd St., Memphis, TN 38103 (attorney for Leslie Ballin),
this 13th day of December, 2004.” However, Ballin, through counsel, states that
a copy was not mailed to him until December 20, 2004. Memorandum of Law in Support
of Motion to Set Aside Default, filed Dec. 22, 2004 (“Ballin 55(c) Br.”), at 3;
see also ig; at 4-5, B. In response, plaintiff states that “plaintiff had no
obligation to serve [the summary judgment] motion until such time as a hearing
date is set. He decided to serve it earlier as a courtesy only.” Response to
“Motion to Set Aside Default,” filed Dec. 28, 2004, at 3. Plaintiff's
interpretation of the applicable rules is seriously in error. Rule 5(a) of the
Federal Rules of Civil Procedure provides as follows:

Except as otherwise provided in these rules, every order
required by its terms to be served, ever pleading subsequent to the
original complaint unless the court otherwise orders because of
numerous defendants, every paper relating to discovery required to be
served upon a party unless the court otherwise orders, every written
motion other than one which may be heard ex Darte, and every written
notice, appearance, demand, offer of judgment, designation of record
on appeal, and similar paper shall be served on each of the parties.
No service need be made on parties in default for failure to appear
except that pleadings asserting new or additional claims for relief
against them shall be served upon them in the manner provided for
service of summons in Rule 4.

Nothing in Rule 55(c) alters the obligation to serve summary judgment motions on
opposing parties. (Moreover, Rule S(a) provides that copies of all motions must
be served on all parties. not just the party to whom the motion is directed. A
copy of plaintiff's summary judgment motion with respect to Ballin was not served
on NBC.)

Moreover, Fed. R. Civ. P. E(d) provides that “[a]ll papers after the
complaint required to be served upon a partyr together with a certificate of
service, must be filed with the court within a reasonable time after service."
Thus, a certificate of service is an attestation that a party has already served
the adverse parties with the paper filed in court; it is not a promise to make
service at some indefinite point in the future. Plaintiff's certificate of service
on the summary judgment motion, which stated that Ballin's counsel was served on
December 13, 2004, was plainly a misrepresentation. Plaintiff is CAUTIONED that
service on all adverse parties must be made in accordance with Rule 5 of the
Federal Rules of Civil Procedure. Any future misrepresentations in connection with
the procedural requirements applicable to this action may subject the plaintiff
to sanctions. including monetary penalties.

‘ It does not appear that an application pursuant to Fed. R. Civ. P.

55(a) need be served on the defaulting party. See also Fed. R. Civ. P. 5(a) (last
sentence). (Because plaintiff at that time anticipated the remand of this case to
state court, he filed his application pursuant to Tenn. R. Civ. P. 55.01, which

(continued...)

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9. December 14 2004: The Clerk of Court for the United
States District Court for the Western District of
Tennessee enters “Order Denying Default Judgment,”
but does not mail a copy to Ballin or his attorney,
who had not yet appeared in the action.5

 

10. December]j, 2004: The law firm of Glassman,
Edwards, Wade & Wyatt, P.C. files its “Notice of
Appearance” on behalf of Ballin in this federal case.6

11. December 15, 2004: After learning of the previously
filed “Notice of Removal,” counsel for Ballin file a
“Joinder Into and Consent to Co-Defendant National
Bank of Commerce's Notice of Removal” in this federal
action.
12. Decmmmr th 2004: Plaintiff files “Notice of
Default and Application to Clerk for Entry of Default
Against Leslie I. Ballin,” but does not serve a copy
on Ballin. (See supra p. 4 n.4.)
13. December 20. 2004: Counsel for Ballin receives copy
of “Default” entered by the Clerk against him
pursuant to Fed. R. Civ. P. 55(a).7
Plaintiff was not, technically, entitled to entry of
default, pursuant to Fed. R. Civ. P. 55(a), for several reasons.
First, it is not clear when Ballin’s response was due and, therefore,
it is not clear that Ballin was in default on December 17, 2004. The
summons for Ballin was issued on October 19, 2004 and it, along with
a copy of the original complaint, were delivered to the receptionist

at Ballin’s office on November 12, 2004. Assuming that Ballin chose

 

‘ (...continued)
requires service on the defaulting party.)

5 Nothing in this order is intended to suggest that the Clerk's conduct

with respect to the transmittal of orders was not in accordance with the Federal
Rules.

6 The docket sheet erroneously indicates that that notice was filed on

December 17, 2004.

7 By that time, Ballin's counsel had filed a notice of appearance and,

therefore, they were included in all mailings from the Clerk.

5

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to accept this means of service, which was not in strict compliance
with Tennessee law, sss Tenn. R. Civ. P. 4.04(1), Ballin's response
was due thirty (30) days later, on Monday, December 13, 2004, see igg
12.01. Ballin did not respond to the complaint by that date, and he
also did not seek an extension of time in which to respond.B
However, on November 15, 2004, plaintiff filed an amended

complaint, which he was entitled to do as of right, id. 15.01, that

 

reasserted the original claim against Ballin and added NBC as an
additional defendant. Pursuant to Rule 15.01 of the Tennessee Rules
of Civil Procedure, “[a] party shall plead in response to an amended
pleading within the time remaining for response to the original
pleading or within 15 days of service of the amended pleading,
whichever period may be longer, unless the court otherwise orders”
(emphasis added). Plaintiff concedes that he did not serve a copy of
the amended complaint on Ballin and, therefore, the additional
fifteen days provided by Tenn. R. Civ. P. 15.01 had not begun to run
when plaintiff obtained a default on December 20, 2004.

It is unnecessary to consider at length the effect of NBC's
removal of this action on December 9, 2004 on plaintiff's application
for a default against Ballin. The procedure after removal is governed
by Fed. R. Civ. P. 81(c), which. provides in. pertinent part as
follows:

These rules apply to civil actions removed to the
United States district courts and govern procedure after

 

“ If Ballin was not prepared to respond to the complaint on that date,

the better practice (at least in federal court, where the case was at the time)
would have been for him to file a motion for an extension of time, which would
have been granted as a matter of course and would have avoided much motion
practice.

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removal. Repleading is not necessary unless the court so

orders. In a removed action in which the defendant has not

answered, the defendant shall answer or present the other

defenses or objections available under these rules within

20 days after the receipt through service or otherwise of

a copy of the initial pleading setting forth the claim for

relief. or within 20 days after the service of summons upon

such initial pleading, then filed, or within 5 days after

the filing of the petition for removal, whichever period

is longest. (Emphasis added.)
The application of Rule 81(c) to this case is complicated by two
factors. First, it is not clear that NBC complied with that portion
of 28 U.S.C. § 1446(d) that requires that, “[p]romptly after the
filing of such notice of removal of a civil action, the defendant or
defendants shall give written notice thereof to all adverse parties.”
Ballin's filing does not indicate when, and how, he learned that this
action was removed from state court, although he plainly learned that
the action had been removed no later than December 15, 2004, when he
indicated his consent to removal.9 Second, in this case there is both
an “initial pleading” and an amended pleading, which, as previously
stated, see supra p. 6, was never served on Ballin as required by
Tennessee law. See Norsvn. Inc. v. Desai, 351 F.Bd 825, 829 & n.4

(Bth Cir. 2003) (the sufficiency of service prior to removal must be

decided under state law).10 Under those circumstances, Ballin had no

 

9 This seems to lead to an anamoly where, as here, a defendant files a

notice of removal without notifying a codefendant, who may have no knowledge of
the applicability of the shorter time periods in Federal Rules of Civil Procedure
to his time for responding to the complaint. gfg 4B Charles Alan Wright & Arthur
R. Millerr Federal Practice and Procedure § 1149 (3d ed.) (“it no longer is
necessary that the removal notice precede the filing of the petition, or that it
be accomplished within any specific time after the filing of the petition”).

m The “or otherwise” language in Rule Sl(c) does not obviate the need
for proper service. Murphy Bros., Inc. v. Michetti Pipe Strinqing, Inc., 526 U.S.
344, 354-55 (1999).

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obligation to respond to the amended complaint. Norsyn, 351 F.3d at
830.

Because Ballin had incurred no obligation to “plead or
otherwise defend” this action, plaintiff was not entitled to entry
of default pursuant to Fed. R. Civ. P. 55(a). Rule 55(c) provides in
pertinent part that, “[f]or good cause shown the court may set aside
an entry of default.” As Ballin was not in default, the Court finds
good cause for setting aside the entry of default. Accordingly, the
Court GRANTS Ballin's motion to set aside the entry of default11 and
DENIES plaintiff's motion for a default judgment.

I'I‘ IS SO ORDERED this 2£ day of August, 2005.

 

UN TED STATES DISTRICT JUDGE

 

11 Because the Court finds that Ballin was not in default, it is not
necessary to consider the additional arguments as to whether Ballin has shown good
cause to set aside a properly entered default.

8

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:04-CV-02998 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

